Case 2:23-cr-29152-MAG-EAG 5 CF Nddi(RagelaBAl Filed 07/93/24 Page Lot 3
Case No. AB- Bars I L E @
Mark A Goldsaiatts JUL 23 2024

KG Chyrckian, CLERK'S OFFICE

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